Case: 7:21-cv-00013-JMH Doc #: 18 Filed: 12/02/21 Page: 1 of 2 - Page ID#: 2499



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                       SOUTHERN DIVISION at PIKEVILLE

  AMY CASHMER,                            )
                                          )
       Plaintiff,                         )        Civil No. 7:21-13-JMH
                                          )
  V.                                      )
                                          )
  KILOLO KIJAKAZI,                        )           MEMORANDUM ORDER
  ACTING COMMISSIONER                     )
  OF SOCIAL SECURITY,                     )
                                          )
       Defendant.                         )

                              **   **    **   **   **

       This   matter   is   before      the   Court     on    the   Commissioner’s

unopposed motion to remand this case to the Social Security

Administration for further proceedings. (DE 17). Sentence four of

42 U.S.C. § 405(g) provides that the Court may, upon the pleadings

and the transcript of the administrative record, enter judgment

and remand the case to the Commissioner for a rehearing and a new

decision. The plaintiff does not oppose this request. (Id., ¶ 3).

Therefore,     the   Court,   having      reviewed      the    record   and   being

adequately advised,

       IT IS ORDERED as follows:

         1.   The Commissioner’s unopposed motion to remand (DE 17)

              is GRANTED

         2.   Plaintiff’s motion for summary judgment (DE 13) is

              DENIED as moot.
Case: 7:21-cv-00013-JMH Doc #: 18 Filed: 12/02/21 Page: 2 of 2 - Page ID#: 2500



        3.   A corresponding judgment shall be entered by separate

             Order.

       This the 2nd day of December, 2021.
